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Prob 12 (Rev. 11/1/2004)

                             United States District Court
                                                 for the
                                    DISTRICT OF MINNESOTA
                                United States v. Tyrone Shadale Oaks
                              Docket No. 0864 0:07CR00315-001(MJD)
                             AMENDED Petition on Supervised Release

       COMES NOW Bradley A. Rupprecht, U.S. PROBATION OFFICER OF THE
COURT, presenting an official report upon the conduct and attitude of Tyrone Shadale Oaks
who was sentenced for Felon in Possession of a Firearm on June 24, 2008, by the Honorable
Michael J. Davis, who fixed the period of supervision at 5 years supervised release, and imposed
the general terms and conditions theretofore adopted by the Court and also imposed special
conditions and terms as follows:

           •      Participate in drug/alcohol treatment program
           •      Submit to searches
           •      Employment required
           •      Education programming

On September 29, 2016, the defendant was resentenced to 120 months custody followed by
3 years of supervised release. Special conditions of supervised release included all previously
imposed conditions, along with the following:

           •      Residential reentry center for at least 90 days

On May 23, 2017, supervised release was revoked, and the defendant was sentenced to 3 months
imprisonment followed by a period of supervised release of 28 months. Special conditions of
supervision included all previously imposed conditions.

On April 11, 2018, supervised release was revoked and the defendant was sentenced to 1 year
and 1 day imprisonment followed by a period of supervised release of 18 months.
Special conditions of supervision included all previously imposed conditions.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

         MANDATORY CONDITION: You must not commit another federal, state, or
         local crime.

         STANDARD CONDITION: You must not own, possess, or have access to a
         firearm, ammunition, destructive device, or dangerous weapon.

On July 1, 2019, the defendant was arrested in St. Paul, Minnesota, and on July 2, 2019, the
defendant was charged in United States District Court for the District of Minnesota with Felon in
Possession of Ammunition, in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2). (Docket No.:
0:19-MJ-00421-BRT).
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Petition on Supervised Release                           RE: Tyrone Shadale Oaks
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On October 1, 2019, a two-count Information was filed in the District of Minnesota
charging the defendant with Armed Bank Robbery, in violation of 18 U.S.C. § 2113(a) and
(d), and Felon in Possession of Ammunition, in violation of 18 U.S.C. §§ 922(g)(1) and
924(a)(2). On October 2, 2019, the defendant pled guilty to the two-count Information as
charged. The defendant is pending sentencing. (Docket No.: 0:19-CR-00191-MJD).

PRAYING THAT THE COURT WILL ORDER that the petition dated July 3, 2019, be
amended by way of the additional information above. A warrant was previously issued on
July 3, 2019. The defendant be brought before the Court to show cause why supervision should
not be revoked.

         [The rationale for a warrant is contained in Section 5 of the violation report.]


         ORDER OF THE COURT                             I declare under penalty of perjury that
                                                        the foregoing is true and correct.
                              15th
Considered and ordered this __________  day
    September 2022
of __________________,    and ordered filed             s/ Bradley A. Rupprecht
and made a part of the records in the above             Bradley A. Rupprecht
case.                                                   U.S. Probation Officer
                                                        Telephone: 612-664-5377
 s/Michael J. Davis
Honorable Michael J. Davis                              Executed on      September 14, 2022
Senior U.S. District Judge
                                                        Place            Minneapolis

                                                        Approved:

                                                        s/ Maribel Andrade-Vera
                                                        Maribel Andrade-Vera
                                                        Supervising U.S. Probation Officer
